           Case 1:17-cv-01230-JB-LF Document 39 Filed 12/03/18 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                Plaintiff,
                                                                      No. 1:17-cv-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

                Defendants.

                  JOINT MOTION TO EXTEND STAY OF PROCEEDINGS

          COME NOW, Plaintiff J. Lee and Defendants Board of Regents of the University of New

Mexico (“UNM”) and Garnett S. Stokes, by and through their respective counsel of record, and

jointly move the Court to enter a stipulated order extending the stay of proceedings in this case

until December 31, 2018, or until the parties jointly request that the stay be lifted. As grounds

therefor, the parties state:

          1.    The parties are continuing to engage in good-faith settlement negotiations which

may resolve this matter without the need for any further involvement or action by the Court; and

          2.    The parties mutually agree that an extension of the stay of proceedings until

December 31, 2018, would be in the best interests of the parties and may result in the

conservation of judicial resources.

          WHEREFORE, the parties respectfully request that the Court enter an order extending

the stay the proceedings and taking no further action in this matter until December 31, 2018, or

until the parties jointly request that the stay be lifted.
Case 1:17-cv-01230-JB-LF Document 39 Filed 12/03/18 Page 2 of 2




                            ADAMS+CROW LAW FIRM
                            Attorneys for Plaintiff
                            5051 Journal Center Blvd. NE, Suite 320
                            Albuquerque, NM 87109
                            (505) 582-2819; (505) 212-0439
                            Arlyn@adamscrow.com
                            Alana@adamscrow.com

                                   /s/ Arlyn G. Crow
                            By: ______________________________________
                                   Arlyn G. Crow
                                   Alana M. De Young

                            and

                            SHEEHAN & SHEEHAN, P.A.
                            Attorneys for Defendants
                            P.O. Box 271
                            Albuquerque, NM 87103
                            (505) 247-0411; (505) 842-8890 (fax)
                            qs@SheehanSheehan.com
                            lsb@SheehanSheehan.com

                                   /s/ Quentin Smith
                            By: ______________________________________
                                   Quentin Smith
                                   Leah M. Stevens-Block

                                          S:\17193\PLDG\Second USDC\20181203 JT MTN Extend Stay Proceedings (QS).docx




                               2
